       Case 1:12-cv-02039-JEJ Document 174 Filed 11/11/16 Page 1 of 24




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    :
ANGELO ARMENTI, JR.                 :
                                    :
                     Plaintiff      :    CIVIL ACTION
                                    :    No. 12-CV-02039
     v.                             :    (Judge John E. Jones, III)
                                    :
RONALD TOMALIS, et al               :
                                    :
                     Defendants     :
__________________________________________________________________

                               NOTICE OF APPEAL

      Notice is hereby given that Plaintiffs, Angelo Armenti, Jr., hereby appeal

to the United States Court of Appeals for the Third Circuit from the attached

Memorandum of Decision and Order of the Honorable John E. Jones, III dated

November 2, 2016 granting Defendants’ Motion for Summary Judgment a copy

of which is attached hereto.

                                           /s/               (ABE2825)
                                     Alan B. Epstein, Esquire (ABE2825)
                                     SPECTOR GADON & ROSEN
                                     1635 Market Street, Seventh Floor
                                     Seven Penn Center
                                     Philadelphia, PA 19103
                                     (215) 241-8888

                                     Attorneys for Plaintiff

Dated: November 11, 2016
       Case 1:12-cv-02039-JEJ Document 174 Filed 11/11/16 Page 2 of 24




                         CERTIFICATE OF SERVICE

      I, Alan B. Epstein, Esquire, do hereby certify that service of a true and

correct copy of Notice of Appeal was made on this 11th day of November, 2016,

to counsel named below via electronic transmission through ECF:

                            Samuel H. Simon, Esquire
                          Matthew J. Lautman, Esquire
                         HOUSTON HARBAUGH, P.C.
                        Three Gateway Center, 22nd Floor
                              401 Liberty Avenue
                             Pittsburgh, PA 15222

                                       and

                            Cathleen Kelly Rebar
                              Jeanne Park Lee
                   STEWART BERNSTIEL REBAR & SMITH
                       470 Norristown Road, Suite 201
                            Blue Bell, PA 19422

                                        and

                      Michael Ferguson, Esquire
         PENNSYLVANIA STATE SYSTEM OF HIGHER EDUCATION
                       2986 North Second Street
                        Harrisburg, PA 17110



                               By:         /s/               (ABE2825)
                                     Alan B. Epstein, Esquire (ABE2825)
                                     SPECTOR GADON & ROSEN, P.C.
                                     1635 Market Street, 7th Floor
                                     Philadelphia, PA 19102
                                     (215) 241-8888
                                     (215) 241-8844
Case 1:12-cv-02039-JEJ Document 174 Filed 11/11/16 Page 3 of 24




EXHIBIT “A”
         Case
         Case 1:12-cv-02039-JEJ
              1:12-cv-02039-JEJ Document
                                Document 174
                                         172 Filed
                                             Filed 11/11/16
                                                   11/02/16 Page
                                                            Page 4
                                                                 1 of
                                                                   of 24
                                                                      20




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGELO ARMENTI, JR.,                            :    1:12-cv-2039
                                                :
                    Plaintiff,                  :     Hon. John E. Jones III
                                                :
        v.                                      :
                                                :
RON TOMALIS, et. al.,                           :
                                                :
                    Defendants,                 :

                                  MEMORANDUM

                                  November 2, 2016

        Presently pending before the Court is Defendants Ron Tomalis, John

Cavanaugh, Guido Pichini, Marie Conley and Ronald Henry’s (“Defendants”)

motion for summary judgment. (the “Motion”) (Doc. 149). Also pending is

Defendants’ motion to strike portions of Plaintiff Angelo Armenti, Jr.’s

(“Armenti”) response to the Defendants’ statement of facts and portions of his

counter-statement of facts. (Doc. 164). Armenti brings claims arising out of his

termination as President of California University of Pennsylvania. (“Cal U”). Both

motions have been fully briefed (Docs. 150, 156, 162, 165, 170, 171) and are

therefore ripe for our review. For the reasons that follow, the motion to strike shall

be denied, and the motion for summary judgment shall be granted in full.

   I.        MOTION TO STRIKE



                                           1
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 5
                                                               2 of
                                                                 of 24
                                                                    20



      We must first dispose of the Defendants’ motion to strike so that we can

outline the case background and analyze the motion for summary judgment in

accordance with the admissions to material facts made by the parties. Defendants

have moved to strike thirty of Armenti’s responses to the Defendants’ statement of

facts for denying their allegations without providing record support for his denial.

(Doc. 164, ¶ 1). Defendants ask the Court to deem the facts Armenti deficiently

responded to as admitted. (Id., at ¶ 2). Further, Defendants move to strike thirty-

eight paragraphs of Armenti’s counter-statement of facts because: “(1) they are

immaterial and irrelevant; (2) they are based on Armenti’s conclusory affidavit,

which simply restates the averments of Armenti’s Third Amended Complaint;

and/or (3) they are based on averments in Armenti’s affidavit that conflict with

Armenti’s prior deposition testimony.” (Id., at ¶ 3). Defendants did not provide

responses to many of the paragraphs of Armenti’s counter-statement of facts that

they objected to. Armenti filed a revised response and a revised counter-statement

of facts as a result of Defendants’ motion. We consider these revised documents in

place of the originals when analyzing the alleged deficiencies.

      Starting with Armenti’s responses to Defendants’ statement of facts, the

Court finds that paragraphs 1, 3, 12, 13, and 20 were styled as denials, but were in

actuality admissions to the facts coupled with arguments for the proper inferences

to derive from them. The purpose behind Rule 56.1 is to enable “the court to


                                          2
           Case
           Case 1:12-cv-02039-JEJ
                1:12-cv-02039-JEJ Document
                                  Document 174
                                           172 Filed
                                               Filed 11/11/16
                                                     11/02/16 Page
                                                              Page 6
                                                                   3 of
                                                                     of 24
                                                                        20



identify contested facts expeditiously” in order to efficiently rule on motions for

summary judgment, not to entertain argument that is properly left for the summary

judgment briefing. Pinegar v. Shinseki, 2009 WL 1324125, at *1 (M.D. Pa. May

12, 2009)(Conner, C.J.). The Court will therefore treat those paragraphs as

admissions.

         Further, the Court agrees with Defendants that paragraphs 18, 21, and 23

represent denials without any support put forth by Armenti to justify refusing to

admit the facts. We shall treat these as admissions as well. Finally, the Court finds

that Armenti neither admitted nor denied paragraphs 37, 38, and 401, and therefore

those paragraphs shall be deemed admitted as well.

         Moving next to Armenti’s counter-statement of facts, the Court notes that a

counter-statement of facts submitted by the non-movant is “neither contemplated

nor permitted by the Local Rules.” Barber v. Subway, 131 F. Supp. 3d 321, 322,

n.1 (M.D. Pa. 2015)(Conner, C.J.). We also agree with the Defendants that much

of the information contained in Armenti’s counter-statement of facts is immaterial

to the disposition of the summary judgment motion, and thwarts the purpose of

filing a statement of facts. Rather than allowing the Court to “identify contested

facts expeditiously,” we had to sift through Armenti’s submissions searching for

material disputes and ascertain whether those facts were supported by the record.


1
    Paragraph 40 appears to be an inadvertent repetition of paragraph 37 by the Defendants.

                                                  3
          Case
          Case 1:12-cv-02039-JEJ
               1:12-cv-02039-JEJ Document
                                 Document 174
                                          172 Filed
                                              Filed 11/11/16
                                                    11/02/16 Page
                                                             Page 7
                                                                  4 of
                                                                    of 24
                                                                       20



Pinegar, 2009 WL at *1. Instead of parsing through each fact put forth by Armenti

and deciding whether it should be stricken for immateriality or lack of support, the

Court will deny the motion to strike, with the caveat that we will only consider

those facts already admitted by the Defendants. We find that this ruling has no

impact on our summary judgment analysis.

   II.      BACKGROUND

         Plaintiff Angelo Armenti, Jr., Ph.D., served as President of Cal U from 1992

until 2012. (Doc. 158, p. 16). The individual Defendants are employees of the

Pennsylvania State System of Education (“PASSHE”), the public corporation and

government instrumentality that governs Pennsylvania’s fourteen public

universities. (Doc. 151, ¶ 1) (Doc. 158, p. 23). John Cavanaugh (“Cavanaugh”) is

the former Chancellor of PASSHE. (Doc. 151, at ¶ 2). Ron Tomalis is the former

Secretary of Education of PASSHE. (Id., at ¶ 3). Guido Pichini is the Chair of the

PASSHE Board of Governors. (Id., at ¶ 4). Ronald Henry is a member of the

PASSHE Board and the former Chairman of the Audit Committee. (Id., at ¶ 5).

Marie Conley is the former Vice-Chair of the PASSHE Board. (Id., at ¶ 6).

         PASSHE University presidents are reappointed to continue serving in that

capacity by a vote of the Board. (Id., at ¶ 46). This lawsuit arises out of the Board’s

unanimous vote to ratify Armenti’s termination as President on May 9, 2012. (Doc.

151, ¶¶ 22, 23). Armenti alleges that this decision was made in response to his


                                           4
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 8
                                                               5 of
                                                                 of 24
                                                                    20



expression of views not supported by PASSHE and in retaliation for a complaint

he submitted against Cavanaugh.

      By way of background, Armenti is “an outspoken critic on what he

considered an unmistakable legislative trend toward the rapid privatization of

public higher education.” (Doc. 158, p. 29). To that end, has Armenti published

opinions in writing or by way of presentations that were “sharply critical of some

of PASSHE’s policy decisions.” (Id., at 30).

      On October 6, 2011, the Board adopted a plan “contemplated and discussed”

by Armenti to furlough ten Cal U employees in response to expected budgetary

constraints. (Id., at pp. 33). Armenti announced the furlough plan at the Cal U

Faculty Convocation on January 24, 2012. (Id., at p. 34). On February 7, 2012, a

local newspaper published an article about the furlough plan alongside of a story

regarding the Governor’s recently announced budget cut plans, which allegedly

caused the perception that the two were related to one another, which could cause

some political strife. (Id.). On February 8, 2012, Cavanaugh emailed Armenti

advising that “after consultation with the Board, I am verifying that you are to take

no personnel action without explicit approval from me or my staff until further

notice.” (Id., at p. 36). This directive was later determined to exceed Cavanaugh’s

authority. (Doc. 163, ¶ 77).




                                          5
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 9
                                                               6 of
                                                                 of 24
                                                                    20



      On February 7, 2012, PASSHE sent a team of three auditors and a

supervisor to Cal U to conduct an investigation regarding allegations of fiscal

improprieties. (Doc. 158, p. 37). The Defendants maintain that this investigation

was prompted by one signed and eight anonymous fiscal complaints. (Id.). The

single signed letter was authored by a former employee who Armenti had fired.

(Id., at p. 8). The investigation was summarized by a report issued March 20, 2012.

(Doc. 151, ¶ 9). The report does not include any finding that Armenti engaged in

illegal behavior; it does, however, restate the contents of the signed fiscal

complaint that accused the Cal U administration of improper fiscal activity,

including money laundering. (Id., at ¶¶ 13, 14).


      On March 21, 2012, Cavanaugh prepared an annual evaluation of Armenti

and recommended renewal of his employment contract, although Armenti was not

aware of this. (Doc. 158, p. 39). On March 22, 2012, Armenti submitted a formal

complaint to PASSHE, alleging that Cavanaugh “had failed to properly carry out

the duties of his office in accordance with the controlling legislation and thereby

affect[ed] the rights of the students attending the institutions of higher education

under his control and plac[ed] the institutions themselves in financial jeopardy.”

(Id., p. 41). On March 23, 2012, Armenti met with PASSHE chief counsel Leo

Pandeladis, Defendant Pichini, and Defendant Conley to discuss his complaints



                                           6
       Case
       Case1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document174
                                       172 Filed
                                           Filed11/11/16
                                                 11/02/16 Page
                                                          Page10 of20
                                                               7 of 24




against Cavanaugh. (Id., at p. 43). In response, Cavanaugh and Pandeladis

appointed a special investigator to review Armenti’s complaints. (Id., at 43-44).


      Each of the Defendants except for Cavanaugh attended a Board meeting on

May 9, 2012. (Id., at p. 43). Thereafter, on May 16, 2012, Defendant Pichini

terminated Armenti’s employment. (Doc. 151, ¶ 19). On May 25, 2012, the Board,

including all of the individual defendants except for Cavanaugh, unanimously

voted to ratify the termination of Armenti. (Id., at ¶¶ 21-23). Defendant Pichini

sent a letter to Armenti on June 1, 2012 to confirm that he was terminated “for

cause.” (Doc. 158, p. 45).


      The day after Armenti’s termination, Dean Weber, author of the

investigation report, forwarded his final report to another individual, at which time

the report became a public document open to request and review. (Doc. 158, p. 44).

The press published articles that linked Armenti’s termination with the audit

report, which as aforementioned contained the fiscal complaint allegations. (Doc.

158, ex. 34).


      Armenti initiated this action by filing his original complaint on October 10,

2012. (Doc. 1). He filed a first amended complaint on January 11, 2013. (Doc. 48).

In response to motions to dismiss filed by the Defendants, Armenti was granted

leave to file a second amended complaint on April 14, 2013. (Doc. 67). By Order

                                          7
          Case
          Case1:12-cv-02039-JEJ
               1:12-cv-02039-JEJ Document
                                 Document174
                                          172 Filed
                                              Filed11/11/16
                                                    11/02/16 Page
                                                             Page11 of20
                                                                  8 of 24




dated October 2, 2013, we granted and denied multiple motions to dismiss,

prompting Armenti to file a third amended complaint (Doc. 94) which remains the

operative complaint in this matter. We denied Defendants’ motion to dismiss the

third amended complaint by Order dated March 17, 2014. (Doc. 112). On January

15, 2015, we granted Defendants’ motion for partial judgment on the pleadings.

(Doc. 129).


      Three counts remain against all the Defendants, and one count remains

against Defendants Pichini and Conley. On July 1, 2016, the Defendants filed a

motion for summary judgment on all counts. (Doc. 149). The Motion has been

fully briefed (Docs. 150, 156, 162) and is therefore ripe for our review.

   III.     STANDARD OF REVIEW

      Summary judgment is appropriate if the moving party establishes “that there

is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(a). A dispute is “genuine” only if there is a

sufficient evidentiary basis for a reasonable jury to find for the non-moving party,

and a fact is “material” only if it might affect the outcome of the action under the

governing law. See Sovereign Bank v. BJ’s Wholesale Club, Inc., 533 F.3d 162,

172 (3d Cir. 2008) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986)). A court should view the facts in the light most favorable to the non-

moving party, drawing all reasonable inferences therefrom, and should not

                                          8
       Case
       Case1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document174
                                       172 Filed
                                           Filed11/11/16
                                                 11/02/16 Page
                                                          Page12 of20
                                                               9 of 24




evaluate credibility or weigh the evidence. See Guidotti v. Legal Helpers Debt

Resolution, L.L.C., 716 F.3d 764, 772 (3d Cir. 2013) (citing Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)).

      Initially, the moving party bears the burden of demonstrating the absence of

a genuine dispute of material fact, and upon satisfaction of that burden, the non-

movant must go beyond the pleadings, pointing to particular facts that evidence a

genuine dispute for trial. See id. at 773 (citing Celotex Corp. v. Catrett, 477 U.S.

317, 324 (1986)). In advancing their positions, the parties must support their

factual assertions by citing to specific parts of the record or by “showing that the

materials cited do not establish the absence or presence of a genuine dispute, or

that an adverse party cannot produce admissible evidence to support the fact.”

FED. R. Civ. P. 56(c)(1).

      A court should not grant summary judgment when there is a disagreement

about the facts or the proper inferences that a factfinder could draw from them.

See Reedy v. Evanson, 615 F.3d 197, 210 (3d Cir. 2010) (citing Peterson v. Lehigh

Valley Dist. Council, 676 F.2d 81, 84 (3d Cir. 1982)). Still, “the mere existence of

some alleged factual dispute between the parties will not defeat an otherwise

properly supported motion for summary judgment.” Layshock ex rel. Layshock v.

Hermitage Sch. Dist., 650 F.3d 205, 211 (3d Cir. 2011) (quoting Anderson, 477

U.S. at 247-48) (internal quotation marks omitted).


                                           9
         Case
         Case 1:12-cv-02039-JEJ
              1:12-cv-02039-JEJ Document
                                Document 174
                                         172 Filed
                                             Filed 11/11/16
                                                   11/02/16 Page
                                                            Page 13
                                                                 10 of
                                                                    of 24
                                                                       20




   IV.     DISCUSSION

      Defendants have moved for summary judgment on all four of the remaining

counts. Count I is against all defendants for First Amendment retaliation in

violation of 42 U.S.C. § 1983. Count II is against all defendants for a violation of

due process rights under 42 U.S.C. § 1983, premised on the Defendants’ alleged

failure to provide a name-clearing hearing to Armenti. Count III is against all

defendants for civil conspiracy to violate his constitutional rights. Finally, Count

IV is against Defendants Pichini and Conley for an alleged violation of the

Pennsylvania Whistleblower Law, codified at 43 P.S. § 1424(b). We will discuss

each count in turn.

           A. Count I- First Amendment Retaliation

      Armenti alleges that the Defendants terminated his employ as President of

Cal U in response to his public commentary that was critical of PASSHE policies.

(Doc. 94, ¶¶ 127-132). Defendants move for summary judgment on two bases:

first, Armenti was terminated by a unanimous vote of the Board, and therefore,

even if the Defendants had retaliatory reasons in voting to terminate him, they

cannot be held liable. Relatedly, Defendant Cavanaugh was not a voting member at

all so he cannot be held liable either way. Second, Defendants argue that there is

no evidence of actual retaliation against Armenti. As a threshold matter, we find

that Armenti has offered no evidence that Cavanaugh voted for his termination,


                                          10
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 14
                                                               11 of
                                                                  of 24
                                                                     20



and therefore, summary judgment will be granted in Cavanaugh’s favor on Count

I.

      To prevail on a First Amendment retaliation claim, a “plaintiff must show

‘(1) constitutionally protected conduct, (2) retaliatory action sufficient to deter a

person of ordinary firmness from exercising his constitutional rights, and (3) a

causal link between the constitutionally protected conduct and the retaliatory

action.’” Zimmerlink v. Zapotsky, 539 F. App'x 45, 48 (3d Cir. 2013) (citing

Thomas v. Independence Twp., 463 F.3d 285, 296 (3d Cir.2006)).

      In keeping with these elements, Armenti alleges that he exercised

constitutionally protected conduct when he spoke critically of PASSHE policies

through presentations and written opinions, that his termination was a retaliatory

action, and that his speech was a substantial factor in the Defendants’ votes to

terminate his presidency. (Doc. 94, ¶¶ 127-132). For purposes of this analysis, we

can assume that the first two elements are met because Armenti’s claim necessarily

fails to establish causation.

      Defendants relied on Watson v. Borough of Susquehanna, 532 Fed.App’x

233 (3d Cir. 2013) for the proposition that a plaintiff cannot establish causation for

First Amendment retaliation against an individual defendant where “less than a

majority of the decision-making body acted for an impermissible retaliatory

reason.” Watson, 532 Fed.App’x at 236. There, the Third Circuit noted that,


                                           11
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 15
                                                               12 of
                                                                  of 24
                                                                     20



because an employer can defeat a retaliation claim by establishing “that it would

have taken the adverse employment action regardless of whether the employee had

engaged in protected conduct,” Pro v. Donatucci, 81 F.3d 1283, 1288 (3d Cir.

1996), claims against individual defendants must fail if a majority vote to terminate

would have been reached absent the accused retaliators’ votes anyway. Watson,

532 Fed.App’x at 236.

      Armenti countered this argument by asserting that Watson is distinguishable

because a jury resolved factual issues in that case and there was an expressed

legitimate reason to terminate the plaintiff in that matter. (Doc. 159, p. 22).

Because no reason for his termination was ever expressed, Armenti argues “it

simply cannot be said that the decision to terminate him was not influenced by

broadly disseminated statements falsely implying impropriety and the counsels

[sic] awareness of the charges Dr. Armenti brought against Chancellor

Cavanaugh.” (Id.).

      The Court finds three problems with this argument. First, Armenti is now

suggesting that the constitutionally protected speech that allegedly prompted his

termination was his complaint against the Chancellor or the investigation report,

rather than his public opinions about PASSHE policy. Armenti will have a much

more difficult time alleging that his complaint about the Chancellor constituted

public First Amendment speech, and the investigation report was not Armenti’s


                                           12
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 16
                                                               13 of
                                                                  of 24
                                                                     20



speech at all. Second, Armenti is suggesting that the burden is on the Defendants to

show that they had a proper reason to terminate his presidency, as opposed to the

proper burden of Armenti, as Plaintiff, to show that his speech was a substantial

factor in his termination. The burden does not shift to the Defendants until Armenti

makes this demonstration. Gorum v. Sessoms, 561 F.3d 179, 184 (3d Cir. 2009).

      Finally, and most importantly here, the factual distinction between Watson

and Armenti’s case is immaterial as it does not change the precedential legal

holding that an individual defendant cannot be held liable where less than a

majority of the board acted for impermissible reasons. The Court can go so far as

to assume that each individual Defendant that voted to terminate Armenti was

acting out of retaliation for Armenti’s constitutionally protected speech, and

Armenti still could not establish causation. The Board was unanimous in its

decision to ratify the termination of Armenti. (Doc. 151, ¶¶ 21-23). Without the

four Defendants who were present, the motion to ratify the termination would have

still passed. Armenti cannot establish causation as a matter of law and therefore we

shall grant Defendants’ Motion for summary judgment on Count I.

         B. Count II- Failure to Provide a Name-Clearing Hearing

      In Count II, Armenti alleges that the Defendants deprived him of due

process by seriously damaging his reputation and failing to provide him with a

name-clearing hearing to remedy that. (Doc. 94, ¶¶ 133-139). The Supreme Court


                                         13
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 17
                                                               14 of
                                                                  of 24
                                                                     20



has recognized that “[w]here a person's good name, reputation, honor, or integrity

is at stake because of what the government is doing to him, notice and an

opportunity to be heard are essential.” Wisconsin v. Constantineau, 400 U.S. 433,

437 (1971). Where these procedural safeguards are not given, a plaintiff may bring

“a due process claim for deprivation of a liberty interest in reputation.” Hill v.

Borough of Kutztown, 455 F.3d 225, 236 (3d Cir. 2006). To prevail on this claim, a

plaintiff “must show a stigma to his reputation plus deprivation of some additional

right or interest.” Id. (emphasis in original).

      The alleged stigmatizing statements at issue are those where the

investigation report republishes the fiscal complaint allegations that prompted the

beginning of the audit investigation. (Doc. 159, p. 25). In order to satisfy the

“stigma” prong of the test, the plaintiff must demonstrate “that the purportedly

stigmatizing statement(s) (1) were made publicly, and (2) were false.” Hill, 455

F.3d at 236. (internal citations omitted).

      Defendants argue that Armenti has failed to satisfy the stigma prong in both

regards. First, Defendants argue that Armenti has not adduced any evidence to

indicate that any of the Defendants made the statements at all. (Doc. 150, p. 38).

The alleged stigmatizing statements come from the investigation report, and

Armenti has not shown that any of the defendants were responsible for the contents




                                             14
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 18
                                                               15 of
                                                                  of 24
                                                                     20



or publication of that report. Second, even if the Defendants were responsible for

the report, Defendants argue that the statements are not false. (Id., at p. 45).

      In response, Armenti offers just two sentences that conclusively state that

the republished fiscal complaint published in the report satisfies the “stigma” prong

of the analysis before going on to discuss the “plus” prong at great length. (Doc.

159, p. 25). He has pointed to no evidence to indicate that the Defendants were

responsible for the statements in the report or that they were false. The report itself

makes clear that the allegations of money laundering and other fiscal mishandling

come from a complaint, and the report does not include any finding that Armenti

engaged in money laundering or illegal behavior. (See Doc. 150, ex. 19; Doc. 151,

¶ 13). Due to the complete lack of evidence that the individual Defendants were

responsible for the statements in the report or that the statements were false, the

Court must grant Defendants’ motion for summary judgment on Count II.

          C. Count III- Civil Conspiracy to Violate Constitutional Rights

      Count III alleges that the Defendants “engaged in a civil conspiracy to

defame plaintiff and impair or circumvent his constitutional rights and statutory

protections.” (Doc. 94, ¶ 141). “In order to demonstrate the existence of a

conspiracy under § 1983, ‘a plaintiff must show that two or more conspirators

reached an agreement to deprive him or her of a constitutional right under color of




                                           15
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 19
                                                               16 of
                                                                  of 24
                                                                     20



law.’” Woods v. Grant, 381 F. App'x 144, 147 (3d Cir. 2010) (quoting Parkway

Garage, Inc. v. City of Phila., 5 F.3d 685, 700 (3d Cir.1993)).

      Defendants move for summary judgment on this count “because there is no

evidence whatsoever that any of the Defendants ever reached any agreement or

acted in concert to deprive Armenti of any constitutional rights.” Armenti responds

by reminding the Court that he only has to “demonstrate with specificity the

circumstances of the alleged conspiracy, such as those addressing the period of

conspiracy, object of the conspiracy, and certain actions of the alleged conspirators

taken to achieve that purpose.” (Doc. 159, p. 36). He then goes on to provide just

one scant paragraph in an effort to show facts that would defeat Defendants’

motion:

      “While there are no direct admissions from the named Defendants herein
      that they conspired to violate Dr. Armenti’s rights, direct evidence of a
      conspiracy to do so is simply not required. The evidence adduced during
      discovery as supplemented by Dr. Armenti’s Declaration suggests that a
      cadre of officials were intent on establishing a basis to terminate Dr.
      Armenti. The talk of a “plan” to deal with him raises the specter of wrongful
      actions and provides a sufficient basis for a jury to reasonably infer that the
      actions taken against him were the result of an unlawful conspiracy to which
      each of the Defendants contributed.”

      (Id., at p. 36-37). This conclusory paragraph does not include any record

cites and only refers to one piece of evidence- an email from Cavanaugh to Conley

where he states they have a “plan” when discussing the possibility of stopping the

furlough plan. (Doc. 158, ex. 17). This is insufficient to defeat a motion for


                                          16
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 20
                                                               17 of
                                                                  of 24
                                                                     20



summary judgment. Armenti recognized that he had the burden to provide with

specificity the circumstances surrounding the alleged conspiracy, and all he has

pointed to is a reference to a “plan” by one defendant to another. The Supreme

Court has held that “in the face of the defendant's properly supported motion for

summary judgment, the plaintiff [can]not rest on his allegations of a conspiracy to

get to a jury without ‘any significant probative evidence tending to support the

complaint.’” Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) (citing First

Nat. Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)).

      Armenti has not provided evidence from which a reasonable jury could find

that the Defendants came to any sort of agreement, much less that the nature of the

agreement was to violate his constitutional rights. For those reasons, we shall grant

Defendants’ Motion for summary judgment on Count III.

         D. Count IV- Violation of Pennsylvania Whistleblower Law

      Finally, in Count IV, Armenti alleges that Defendants Pichini and Conley

terminated him in retaliation for his formal complaint against Cavanaugh in

violation of the Pennsylvania Whistleblower Law. (Doc. 94, ¶¶ 143-152). To

prevail on a claim under the Pennsylvania Whistleblower Law, the plaintiff “must

show by a preponderance of the evidence that, prior to the alleged reprisal, the

employee or a person acting on behalf of the employee had reported or was about

to report in good faith ... an instance of wrongdoing or waste to the employer or an


                                         17
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 21
                                                               18 of
                                                                  of 24
                                                                     20



appropriate authority.” 43. P.S. § 1423(a). “Wrongdoing” as defined by the

Whistleblower Law is a “violation which is not of a merely technical or minimal

nature of a Federal or State statute or regulation of a political subdivision

ordinance or regulation or of a code of conduct or ethics designed to protect the

interest of the public or employer.” 43 P.S. § 1422. The plaintiff “must also present

some evidence of a causal connection between his or her report and the alleged

retaliation.” Johnson v. Res. for Human Dev., Inc., 789 F. Supp. 2d 595, 601 (E.D.

Pa. 2011). If a plaintiff makes this showing, the burden shifts to the employer. Id.

The employer can defeat a whistleblower claim by showing that the adverse action

occurred for non-pretextual reasons. Id.

      Defendants move for summary judgment on this count for three reasons.

First, Defendants argue that Armenti did not report any “wrongdoing” or “waste”

in his complaint against Cavanaugh, as required to invoke the Whistleblower Law.

(Doc. 150, p. 52). Second, Defendants argue that Armenti cannot show causation

because of the unanimous vote of the Board. (Id.). Third, Defendants argue that

Armenti submitted his complaint against Cavanaugh for personal reasons, which

would prevent applicability of the Whistleblower Law. (Id.).

      Armenti responds to Defendants’ third argument, that his complaint was

motivated by personal reasons and thus outside the bounds of the Whistleblower




                                           18
       Case
       Case 1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                              Document 174
                                       172 Filed
                                           Filed 11/11/16
                                                 11/02/16 Page
                                                          Page 22
                                                               19 of
                                                                  of 24
                                                                     20



Law, by arguing that this is a fact question best resolved for the jury. (Id., at p. 40).

The Court agrees with this characterization.

      However, Armenti responds to Defendants’ causation argument by again

stating that he was never given a reason for his discharge and thus a jury could

reasonably find that it was done in retaliation for his complaint. (Doc. 159, p. 39).

Once again, this improperly shifts the initial burden to the Defendants when it is

Armenti’s duty as Plaintiff to point to facts of record that would support his claim.

Armenti has offered no argument to refute Defendants’ claim that causation cannot

exist because the Board would have terminated Armenti without the votes of

Defendants Pichini and Conley.

      Further, in response to Defendants’ argument that Armenti never accused

Cavanaugh of “wrongdoing” or “waste” to implicate the Whistleblower Law

altogether, Armenti offers simply a conclusory statement that he has done so:

      “Further, contrary to the assertions that the critical writings and
      presentations and the Formal Complaint authored by Dr. Armeti did not
      report unlawful wrongdoing as defined in the act, both Dr. Armeti writings
      over the years and his Formal Complaint against the PASSHE Chancellor
      were writings that asserted violations, which were “not of a merely technical
      or minimal nature of a federal or state statute or regulation … or of a code of
      conduct or ethic designed to protect the interest of the public…” 43 P.S. §
      1422.”

      (Id., at pp. 39-40). Instead of pointing to Armenti’s allegations against

Cavanaugh in his complaint or writings and demonstrating how it qualifies as a

“wrongdoing” under the Whistleblower Law, Armenti simply quotes the law and

                                           19
        Case
        Case 1:12-cv-02039-JEJ
             1:12-cv-02039-JEJ Document
                               Document 174
                                        172 Filed
                                            Filed 11/11/16
                                                  11/02/16 Page
                                                           Page 23
                                                                20 of
                                                                   of 24
                                                                      20



conclusively states that he has satisfied it. Armenti has not referred to any specific

statute, law, or code of conduct or ethics to show that he complained of a violation

within the meaning of the Whistleblower Law, much less how that specific statue,

law, or code of conduct was designed to protect the public. Without meeting this

threshold, Armenti’s complaint of Cavanaugh cannot invoke the Whistleblower

law at all. See Suekenik v. Tonwship of Elizabeth, 131 A3d 550, 555 (Pa.Cmwlth.

2016); Riggio v. Burns, 711 A.2d 497, 501-502 (PA.Super. 1998).

        Because Armenti has not shown that he reported “wrongdoing” within the

meaning of the Whistleblower Law, and even if he had, he cannot show causation

because the Board would have terminated his presidency without Defendants

Pichini and Conley’s votes, the Court must grant Defendants’ Motion for summary

judgment on this count.

   V.      CONCLUSION

        For the foregoing reasons, we shall deny Defendants motion to strike (Doc.

164) and grant Defendants’ motion for summary judgment. (Doc. 149). A separate

order shall issue in accordance with this ruling.




                                          20
      Case
       Case1:12-cv-02039-JEJ
            1:12-cv-02039-JEJ Document
                               Document174
                                        173 Filed
                                             Filed11/11/16
                                                   11/02/16 Page
                                                             Page24 of 1
                                                                  1 of 24




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGELO ARMENTI, JR.,                         :     1:12-cv-2039
                                             :
                  Plaintiff,                 :     Hon. John E. Jones III
                                             :
      v.                                     :
                                             :
RON TOMALIS, et. al.,                        :
                                             :
                  Defendants,                :

                                    ORDER

                                November 2, 2016

            Presently before the Court is Defendants’ motion to strike (Doc. 164)

and Defendants’ motion for summary judgment. (Doc. 149). In conformity with

the Memorandum issued on today’s date, IT IS HEREBY ORDERED THAT:

   1. Defendants’ motion to strike (Doc. 164) is DENIED.

   2. Defendants’ motion for summary judgment (Doc. 149) is GRANTED.

   3. The Clerk of the Court SHALL CLOSE the file on this case.




                                           s/ John E. Jones III
                                           John E. Jones III
                                           United States District Judge
